        Case 2:09-mc-00239-MRH Document 45 Filed 08/15/20 Page 1 of 3




                  IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE: PACER FEE EXEMPTIONS                     )
                                                )
                                                )     Misc. No. 09-239
BRENT JOHNSON,                                  )
             Movant.                            )


                                     ORDER

      This matter is before the Court upon the application and request by Brent Johnson

(“Johnson”) for exemption from the fees imposed by the Electronic Public Access fee

schedule adopted by the Judicial Conference of the United States Courts (ECF No. 44).

      This Court finds that Johnson falls within the class of users listed in the fee

schedule as being eligible for a fee exemption because he is requesting this exemption for

the sole purpose of performing research for an individual researcher associated with an

educational institution. Additionally, Johnson demonstrated that an exemption is

necessary in order to avoid unreasonable burdens and to promote public access to

information.

      Accordingly, Johnson shall be exempt from the payment of fees for access via the

Public Access to Court Electronic Records system (the “PACER System”) to the

electronic case files maintained by this Court, to the extent such use is incurred in the

course of the defined academic research project described in the Application for Multi-

Court Exemption from the Judicial Conference’s Electronic Public Access Fees in the

United States District Court for the Western District of Pennsylvania, (the “Application”)
        Case 2:09-mc-00239-MRH Document 45 Filed 08/15/20 Page 2 of 3




(ECF No. 44). The Court finds that the research project described in the Application is

intended for scholarly research and is limited in scope. Johnson shall not be exempt from

the payment of fees incurred in connection with other uses of the PACER System in this

Court, including, specifically, assisting professors at Widener University with research

projects other than the one described in the Application. Additionally, the following

limitations apply:

      1) This fee exemption applies only to Johnson and is valid only for the one

         academic research project described in the Application;

      2) This fee exemption applies only to the electronic case files of this Court

         that are available through the PACER System;

      3) By accepting this exemption, Johnson agrees not to sell for profit any data

         obtained as a result of receiving this exemption, nor to allow any third

         party to do so;

      4) Johnson, and any third party for whom Johnson obtains data, is prohibited

         from transferring any data obtained as a result of receiving this exemption,

         including redistribution via Internet-based databases. This prohibition does

         not prevent Johnson, or any third party for whom Johnson obtains data,

         from relying upon the data obtained as a result of receiving this exemption

         in or in connection with the one scholarly project described in the

         Application;

      5) This exemption is valid until July 31, 2021.



                                            2
       Case 2:09-mc-00239-MRH Document 45 Filed 08/15/20 Page 3 of 3




      This exemption may be revoked at the discretion of the Court at any time. The

Clerk of Court of the United States District Court for the Western District of

Pennsylvania, or his designee, may periodically review the usage of Johnson’s exempt

PACER System account during the term of this exemption.



Dated: August 14, 2020                                BY THE COURT:


                                                      /s/ Mark R. Hornak
                                                      Mark R. Hornak
                                                      Chief United States District Judge




cc:   PACER Service Center (via email)
      Administrative Office of the United States Courts,
       Multi-Court Exemptions Office (via email)
      Brent Johnson (via email)




                                           3
